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                                                      - 803 -
                               Nebraska Supreme Court Advance Sheets
                                        309 Nebraska Reports
                                             MALOUSEK v. MEYER
                                              Cite as 309 Neb. 803



                             Mark J. Malousek, successor to Eric Rees,
                              as Special Administrator of the Estate
                               of Molly R. Stacey, deceased, et al.,
                                 appellees and cross-appellants, v.
                                   Steven Greg Meyer and Mark
                                     A. Meyer, appellants and
                                          cross-appellees.
                                                  ___ N.W.2d ___

                                        Filed July 30, 2021.    No. S-20-470.

                 1. Actions: Parties: Standing: Jurisdiction. The question of whether a
                    party who commences an action has standing and is therefore the real
                    party in interest presents a jurisdictional issue.
                 2. Standing: Jurisdiction: Judgments: Appeal and Error. Standing is
                    a jurisdictional component of a party’s case, because only a party who
                    has standing may invoke the jurisdiction of a court; determination of a
                    jurisdictional issue which does not involve a factual dispute is a matter
                    of law which requires an appellate court to reach its conclusions inde-
                    pendent from those of a trial court.
                 3. Declaratory Judgments. An action for declaratory judgment is sui
                    generis; whether such action is to be treated as one at law or one in
                    equity is to be determined by the nature of the dispute.
                 4. Appeal and Error. In a bench trial of a law action, the trial court’s
                    factual findings have the effect of a jury verdict and will not be set aside
                    on appeal unless they are clearly wrong.
                 5. Trial: Witnesses. In a bench trial of an action at law, the trial court is
                    the sole judge of the credibility of the witnesses and the weight to be
                    given their testimony.
                 6. Equity: Evidence: Appeal and Error. A case in equity is reviewed de
                    novo on the record, subject to the rule that when credible evidence is in
                    conflict on material issues of fact, an appellate court will consider and
                    may give weight to the fact that the trial court observed the witnesses
                    and accepted one version of the facts over another.
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           Nebraska Supreme Court Advance Sheets
                    309 Nebraska Reports
                           MALOUSEK v. MEYER
                            Cite as 309 Neb. 803
 7. Appeal and Error. In a review de novo on the record, an appellate court
    reappraises the evidence as presented by the record and reaches its own
    independent conclusions concerning the matters at issue.
 8. Contracts: Undue Influence: Proof. The elements necessary to war-
    rant the rejection of a written instrument on the ground of undue influ-
    ence are (1) that the person who executed the instrument was subject to
    undue influence, (2) that there was opportunity to exercise undue influ-
    ence, (3) that there was a disposition to exercise undue influence for an
    improper purpose, and (4) that the result was clearly the effect of such
    undue influence.
 9. Undue Influence: Proof. Because undue influence is often difficult to
    prove with direct evidence, it may be reasonably inferred from the facts
    and circumstances surrounding the actor: his or her life, character, and
    mental condition.
10. Undue Influence. Mere suspicion, surmise, or conjecture does not war-
    rant a finding of undue influence; instead, there must be a solid founda-
    tion of established facts on which to rest the inference of its existence.
11. Trial: Witnesses: Testimony. Witness credibility and the weight to be
    given a witness’ testimony are questions for the trier of fact.
12. Contracts: Mental Competency: Proof. In order to set aside a writ-
    ten instrument for want of mental capacity on the part of the person
    executing it, the burden of proof is upon the party asserting incapacity
    to establish that the mind of the person was so weak or unbalanced when
    the instrument was executed that the person could not understand and
    comprehend the purport and effect of what he or she was doing.
13. Contracts: Marriage: Mental Competency. A marriage contract will
    not be declared void for mental incapacity to enter into it unless there
    existed at the time of the marriage such a want of understanding as to
    render a party incapable of assenting thereto.
14. ____: ____: ____. Mere weakness of mind is not sufficient to void a
    contract of marriage unless there be such a mental defect as to prevent
    the party from comprehending the nature of the marriage contract and
    from giving free and intelligent consent to it.
15. Contracts: Marriage. A marriage is valid if a party has sufficient
    capacity to understand the nature of the contract and the obligations and
    responsibilities it creates.
16. Actions: Trusts: Equity. Actions to declare a resulting trust are in
    equity.
17. Trusts: Conveyances: Presumptions: Intent: Words and Phrases. A
    resulting trust is one raised by implication of law and presumed always
    to have been contemplated by the parties; the intention of the resulting
    trust is to be found in the nature of their transaction, but not expressed
    in deed or instrument of conveyance.
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           Nebraska Supreme Court Advance Sheets
                    309 Nebraska Reports
                           MALOUSEK v. MEYER
                            Cite as 309 Neb. 803
18. Trusts: Property: Consideration. Where a transfer of property is made
    to one person and the purchase price or consideration is paid by another
    person, a resulting trust arises in favor of the person who made the pay-
    ment or provided consideration.
19. Trusts: Proof. The burden is on the one claiming the existence of a
    resulting trust to establish the facts upon which it is based by clear and
    satisfactory evidence.

  Appeal from the District Court for Sarpy County: George
A. Thompson, Judge. Affirmed in part, and in part reversed and
remanded with directions.
   Travis M. Jacott, Patrick J. Sullivan, and C.G. (Dooley)
Jolly, of Adams &amp; Sullivan, P.C., L.L.O., for appellants.
   Thomas M. White and Amy S. Jorgensen, of White &amp;
Jorgensen, for appellees.
   Mark J. Malousek, pro se.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Papik, J.
   Steven Greg Meyer (Greg) and his adult son, Mark A.
Meyer, appeal an order of the district court for Sarpy County
that declared the marriage between Greg and Molly R. Stacey,
deceased, to be null and void and ordered them to exe-
cute instruments to relinquish certain property interests they
obtained from Molly before her death. They contend that
Molly’s children lack standing to challenge certain transactions
at issue and that the party that had standing to challenge those
transactions, the special administrator of Molly’s estate, did
not join the action. Greg and Mark also allege that the district
court incorrectly found that Molly lacked the requisite mental
capacity and acted under undue influence. Finding no error by
the district court on these issues, we affirm in part.
   Molly’s children and the special administrator of her estate
cross-appeal, assigning that the district court erred in failing
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                      MALOUSEK v. MEYER
                       Cite as 309 Neb. 803
to rule that a boat Molly purchased and titled in Mark’s name
should be regarded as held in a resulting trust by Mark for
Molly’s benefit. We agree and in part reverse, and remand
with directions.

                       I. BACKGROUND
   Molly and Greg began living together, unmarried, in 2009.
Each had children from previous marriages. In 2015, Molly
was diagnosed with cancer and underwent treatment, but the
cancer spread and her condition deteriorated. On October
12, 2017, with Greg’s involvement, Molly made Greg a joint
owner on two of her bank accounts. On October 14, Molly
and Greg married. In the following days, again with Greg’s
involvement, Molly changed beneficiary designations on other
accounts and an insurance policy to favor Greg, rather than her
adult children, or to include Mark; executed quitclaim deeds
in both her homes to vest ownership in Greg upon her death;
and changed a recently executed power of attorney from her
son to Greg. On October 23, Molly died intestate. She was 60
years old.
   Molly’s adult children, Austin J. Stacey (A.J.) and Courtney
R. Stacey, believed that Molly’s actions in October 2017
resulted from undue influence and that she lacked capacity
due to her illness. They filed a declaratory judgment action in
the district court against Greg and Mark seeking declarations
that all of the above property interest changes and the mar-
riage of Molly and Greg were void and invalid. Greg and Mark
responded with motions and pleadings alleging that Molly’s
children were not the real parties in interest and seeking dis-
missal of the complaint for lack of standing. The district court
denied the motions to dismiss.
   Later in the action, Molly’s children obtained leave to file
an amended complaint in which the special administrator of
Molly’s estate would be joined as an additional plaintiff. In
the ensuing second amended complaint, Molly’s children and
the special administrator added allegations that a boat Molly
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                       MALOUSEK v. MEYER
                        Cite as 309 Neb. 803
had purchased was titled in Mark’s name by Molly in 2015 and
that the boat belonged to Molly when she died.
    Following a trial, the district court generally found in favor
of Molly’s children and the special administrator, whom the
court recognized as the plaintiffs. It expressly found their wit-
nesses more credible than Greg and Mark’s and determined
that Molly’s children and the special administrator had met
their burden of proving that the marriage and the October 2017
transactions were procured by undue influence by Greg or his
family and while Molly lacked mental capacity. However, the
district court concluded that the boat purchased by Molly and
titled in Mark’s name was a gift and declined to find that it
amounted to a resulting trust. It declared the marriage null and
void and ordered Greg and Mark to execute any instruments
necessary to convey interests they had acquired to Molly’s
children and her estate, with the exception of the boat.
    Greg and Mark appealed, asserting that the district court
had erred in its findings that did not involve the boat. Molly’s
children and the special administrator have cross-appealed to
challenge the district court’s ruling as to the boat.
                 II. ASSIGNMENTS OF ERROR
   Greg and Mark assign that the district court erred in (1)
holding that Molly’s children had standing to challenge the
validity of the real and personal property transfers Molly made,
(2) holding that Molly’s estate is a party to the action, (3)
applying a greater weight of the evidence standard to claims of
undue influence and lack of mental capacity rather than a clear
and convincing evidence standard, and (4) making the factual
finding that Molly lacked mental capacity and was subject to
undue influence.
   On cross-appeal, Molly’s children and the special admin-
istrator assign that the district court erred in (1) imposing a
duty on them to prove that the boat was not a gift from Molly
to Mark to avoid it being held in a resulting trust and (2)
failing to hold that Mark held title to the boat as trustee for
Molly’s benefit.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                       MALOUSEK v. MEYER
                        Cite as 309 Neb. 803
                 III. STANDARD OF REVIEW
   We address the relevant standard of review in each subsec-
tion of the analysis below.
                         IV. ANALYSIS
                         1. Jurisdiction
   [1] In Greg and Mark’s first two assigned errors, they
contend that Molly’s children did not have standing to chal-
lenge Molly’s real and personal property transfers and that the
party with standing to challenge those transactions—the special
administrator of Molly’s estate—was not a party to the action.
The question of whether a party who commences an action has
standing and is therefore the real party in interest presents a
jurisdictional issue. Valley Boys v. American Family Ins. Co.,
306 Neb. 928, 947 N.W.2d 856 (2020). Therefore, we consider
this issue first.
                   (a) Additional Background
   As noted above, Molly’s children alone initiated the declara-
tory judgment action. They did so before any special admin-
istrator or personal representative was appointed for Molly’s
estate. However, after Greg and Mark filed answers and
motions to dismiss alleging that Molly’s children were not real
parties in interest and lacked standing to commence the suit,
Molly’s children sought and obtained leave to add the special
administrator of Molly’s estate, Eric Rees, as a plaintiff. Their
motion asserted that the special administrator was recently
appointed, had an interest in the proceeding, and was a neces-
sary party.
   The resulting second amended complaint named the special
administrator as a plaintiff and stated that his “presence in this
action is nominal only, and solely for the purpose of allowing
an action to proceed to determine the nature and extent of the
probate estate of Molly.” All requests for relief and supporting
legal conclusions were by “Plaintiffs.” Rees signed the second
amended complaint as special administrator, along with the
attorney representing Molly’s children.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                      MALOUSEK v. MEYER
                       Cite as 309 Neb. 803
   At the opening of trial, the district court invited the par-
ties to address preliminary matters. Mark Malousek, Rees’
successor as special administrator, identified himself as act-
ing special administrator and responded, “I hereby will adopt
the arguments and claims of [Molly’s children].” Greg and
Mark’s counsel objected, referred to their arguments based on
standing, and noted that the estate had not filed any “affirma-
tive pleadings.”
   In its order following trial, the district court explained that
it was not persuaded by Greg and Mark’s arguments regard-
ing standing. It recognized Molly’s estate as a full party to the
action that had, at the beginning of trial, adopted all claims
made by Molly’s children.

                     (b) Standard of Review
   [2] Standing is a jurisdictional component of a party’s case,
because only a party who has standing may invoke the juris-
diction of a court; determination of a jurisdictional issue which
does not involve a factual dispute is a matter of law which
requires an appellate court to reach its conclusions independent
from those of a trial court. Egan v. County of Lancaster, 308
Neb. 48, 952 N.W.2d 664 (2020).

                          (c) Analysis
   Greg and Mark’s argument that Molly’s children lacked
standing to challenge Molly’s real and personal property trans-
fers is based on our decision in In re Estate of Hedke, 278
Neb. 727, 775 N.W.2d 13 (2009). In that case, we held that
under the Nebraska Probate Code, the right and duty to sue
and recover assets for an estate reside in the estate’s appointed
personal representative, not the devisees. Id. We went on to
explain that the Nebraska Probate Code allows for the appoint-
ment of a special administrator to administer an estate when a
personal representative cannot or should not act. There is no
dispute that a special administrator was appointed to administer
Molly’s estate.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                      MALOUSEK v. MEYER
                       Cite as 309 Neb. 803
   We agree with Greg and Mark that under In re Estate of
Hedke, any claims to recover assets for Molly’s estate could
have been brought only by the special administrator of the
estate. For reasons we will explain, however, that does not lead
to the conclusion that the district court lacked jurisdiction.
   First, Greg and Mark do not dispute that Molly’s children
were the proper parties to assert some of the claims at issue
notwithstanding our decision in In re Estate of Hedke. For
example, the operative complaint sought to void changes to the
beneficiary designations on Molly’s life insurance policy from
Molly’s children alone to include Mark as well. Life insurance
benefits are generally a type of nonprobate transfer and would
thus not pass through Molly’s estate. See, e.g., In re Trust of
Rosenberg, 273 Neb. 59, 727 N.W.2d 430 (2007). Consistent
with that principle, we have held that a challenge to a change
to a life insurance beneficiary designation is properly brought
by the person who would be entitled to the proceeds if the
beneficiary change is voided. See Goff v. Weeks, 246 Neb. 163,
517 N.W.2d 387 (1994). In this case, Molly’s children are the
parties that would be entitled to the proceeds if the beneficiary
changes are voided.
   Molly’s children did initially seek to void other instruments
with the goal of recovering assets for Molly’s estate, and only
the special administrator could pursue this relief under In re
Estate of Hedke. However, Molly’s children and the special
administrator contend that because the special administrator
became a plaintiff with the filing of the second amended com-
plaint, the special administrator’s initial absence does not pose
a jurisdictional problem.
   Greg and Mark argue to the contrary, insisting that the
special administrator was something less than a full party to
the action. In support of this contention, Greg and Mark point
out that the second amended complaint stated that the special
administrator’s “presence in this action is nominal only, and
solely for the purpose of allowing an action to proceed to
determine the nature and extent of the probate estate of Molly.”
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          Nebraska Supreme Court Advance Sheets
                   309 Nebraska Reports
                       MALOUSEK v. MEYER
                        Cite as 309 Neb. 803
They also observe that many allegations in the complaint are
phrased as allegations of “A.J. and Courtney,” rather than of the
special administrator or all the plaintiffs. This shows, Greg and
Mark claim, that the special administrator “explicitly refused to
join the claims raised by [Molly’s children] of undue influence
and lack of mental capacity.” Brief for appellants at 16.
   We disagree with Greg and Mark and find that the special
administrator joined in the lawsuit and asserted claims to
recover assets for Molly’s estate. We understand the reference
in the second amended complaint to the special administrator’s
presence being “nominal” as merely conveying that the special
administrator was participating in the action in his capacity as
special administrator. We likewise do not draw the inference
Greg and Mark draw from the fact that certain allegations are
phrased as allegations of “A.J. and Courtney.” In any event,
any notion that the special administrator was not a party to
the action and asking the district court to restore property to
Molly’s estate is undercut by several other facts. First, in the
motion in which they sought leave to file the second amended
complaint, Molly’s children asserted that the special adminis-
trator was recently appointed, had an interest in the proceeding,
and was a necessary party. Further, the second amended com-
plaint identified the special administrator as a plaintiff, was
signed by the special administrator as a plaintiff, and framed
each of its prayers for relief as being asserted by “[p]laintiffs.”
Taken as a whole, the second amended complaint demonstrates
that the special administrator joined the lawsuit as a plaintiff to
assert claims to recover assets for Molly’s estate.
   The most that Greg and Mark can argue regarding these
issues is that prior to the filing of the second amended com-
plaint, Molly’s children were asserting some claims that could
only be asserted by the special administrator. On this point, we
can agree that in the initial stage of this case, neither Molly’s
children nor the district court demonstrated a clear grasp of
the rule recognized in In re Estate of Hedke, 278 Neb. 727,
775 N.W.2d 13 (2009). Molly’s children purported to assert
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                       MALOUSEK v. MEYER
                        Cite as 309 Neb. 803
certain claims that could only be asserted by the special
administrator. And when Greg and Mark brought this issue to
the attention of the district court via a motion to dismiss, the
district court initially failed to recognize it.
    These early missteps do not, however, call into question
the district court’s authority to enter judgment on the validity
of the real and personal property transfers Molly made. Even
if the district court should have dismissed claims governed
by In re Estate of Hedke to the extent Molly’s children alone
were attempting to assert them, the fact that claims are initially
asserted by the wrong party does not require the immediate,
permanent dismissal of such claims, let alone the entire action.
See Neb. Rev. Stat. § 25-301 (Reissue 2016) (“[a]n action
shall not be dismissed on the ground that it is not prosecuted
in the name of the real party in interest until a reasonable time
has been allowed after objection for joinder or substitution
of the real party in interest”). See, also, Concerned Citizens
v. Department of Environ. Contr., 244 Neb. 152, 505 N.W.2d
654 (1993) (reversing order dismissing petition with preju-
dice, in part, because defects in allegations regarding standing
were curable).
    In response to Greg and Mark’s motion to dismiss, the dis-
trict court could and should have noted that Molly’s children
lacked standing to recover assets for the estate and afforded
leave for the special administrator to join the action as a plain-
tiff. Despite the district court’s failure to do so, the special
administrator did eventually join the lawsuit. Once the duly
appointed special administrator joined, the proper parties were
present and the district court had jurisdiction to rule on all the
claims asserted. This is true even though the special administra-
tor had not been appointed when Molly’s children initiated the
action. See § 25-301 (“[j]oinder or substitution of the real party
in interest shall have the same effect as if the action had been
commenced by the real party in interest”). See, also, Walker v.
Probandt, 29 Neb. App. 704, 958 N.W.2d 459 (2021). Greg and
Mark’s jurisdictional assignments of error lack merit.
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                      MALOUSEK v. MEYER
                       Cite as 309 Neb. 803
                2. Lack of Mental Capacity
                    and Undue Influence
   Greg and Mark’s remaining assignments of error challenge
the district court’s determination that the marriage and the
various transactions involving Molly’s homes, bank accounts,
and beneficiary designations should be declared invalid on the
grounds that Molly lacked the requisite mental capacity and
that undue influence was exerted over her. For the reasons
explained below, however, we are not persuaded.
                   (a) Additional Background
   At trial, Molly’s children and the special administrator pre-
sented evidence that in 2009, Greg began living in Molly’s
Nebraska residence with her and her children, who were then
teenagers. Relationships in the household were generally har-
monious. Greg’s son, Mark, was an adult at that time and lived
elsewhere. Several of the witnesses of Molly’s children and
the special administrator testified that Molly had a close rela-
tionship with her children and that they had always been her
top priority.
   In 2010, Molly began wearing a ring she had purchased.
Molly consistently characterized the ring to friends and family
as a commitment ring, and through the years, she repeatedly
disclaimed plans to marry again.
   Greg, born in 1955, had not had a job with regular income
since 2002. Molly had assets from her divorce settlement and
later inherited assets from her mother. After moving in with
Molly in 2009, Greg relied on her to provide for all of his liv-
ing expenses, and he cooked and did housework.
   Several witnesses testified that Molly had complained about
supporting Greg financially. In particular, Molly expressed that
Greg spent too much of her money on alcohol, and she was
annoyed when he offered drinks to friends and trips to Florida
to his son, Mark, and expected Molly to pay for it. There was
also testimony that in 2013, Greg asked to be included on the
deed to a residence Molly purchased in Florida; Molly refused.
A.J. recalled that when Molly and Greg were drinking, Greg
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                       MALOUSEK v. MEYER
                        Cite as 309 Neb. 803
would bring up the subject of wanting his name on the Florida
house or wanting more money, and Molly did not like it. A.J.
testified that multiple times Greg said he wanted money or to
be on a policy or a bank account, but Molly only wanted her
name on her assets. A.J. testified that Greg had tried to obtain
a credit card in his name on Molly’s account, but Molly would
not allow it because Greg did not have his own money and she
did not want him “going crazy spending money.” A friend testi-
fied that during the last 4 years of Molly’s life, Molly said that
Greg was “le[e]ching” or “mooching” off of her.
   Molly was diagnosed with mouth cancer in December 2015
and underwent surgeries and other treatment. Molly did not
have a will, but Molly’s friends and family testified that Molly
had always maintained, as late as September 2017, the month
before she died, that she wanted her assets divided equally
between A.J. and Courtney when she died, even if the opera-
tive financial instruments gave more to Courtney. There was
testimony that Molly had remarked to some friends and fam-
ily as late as August 2017 that she supposed she should leave
Greg $50,000, but nothing else. And about a year before her
cancer diagnosis, Molly had rejected Greg’s suggestion that she
include Mark in her estate plan.
   In June 2017, Molly contacted attorney Richard Whitworth
about setting up health care and durable powers of attorney.
Whitworth, who knew Molly from handling her mother’s estate
starting in 2011, testified that in June 2017, Molly was lucid.
Molly said she wanted to name A.J. as attorney in fact, and
she specifically said she did not want Greg to know about the
matter. Molly later came to Whitworth’s office to execute the
powers of attorney documents. A.J. testified that Molly did not
want Greg to know because she did not want to deal with the
pressure of Greg’s questions about her decision.
   Whitworth asked Molly whether she needed any additional
estate planning services, and Molly declined, saying that as
long as she remained single, everything would pass to her
children and that is what she wanted. According to Whitworth,
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                      MALOUSEK v. MEYER
                       Cite as 309 Neb. 803
Molly made similar statements in his presence multiple times.
At no time after executing the powers of attorney did Molly
indicate to Whitworth that she had changed her mind about
A.J.’s being the attorney in fact, nor did she inquire about
how marriage would affect her plan to leave her property to
her children.
   There was testimony that despite Molly’s illness, she was
supportive of her children’s career pursuits outside Nebraska—
Courtney in Kansas City, Missouri, and A.J. in Florida. In
2017, both A.J. and Courtney spoke to Molly several times
a week and made trips to Nebraska to visit her. In May and
August 2017, Molly visited A.J.
   Cari Tilson testified that she had been Molly’s nail techni-
cian since 2006 or 2007 and did Molly’s nails every 3 weeks.
Tilson last worked on Molly’s nails on September 14, 2017.
Greg’s sister, Ann Labart, drove Molly to the appointment,
helped her into the salon, and stayed next to her. Tilson
observed that Molly appeared very frustrated because anytime
Molly “would say a word,” Labart wanted to know what she
had said. Tilson testified that Molly’s body language indicated
that Labart was too close to her, and at one point, Molly said
to Labart, “[G]ive me a break. Let me breathe.”
   Labart testified that Molly slept often during her last weeks,
but she denied that Molly was “mentally totally out of it.”
Labart testified that Greg fed Molly and controlled the narcot-
ics for Molly’s pain. Labart denied that Molly was being given
drugs beyond what was prescribed. Labart testified that she
was paying for Greg’s legal fees and supporting him finan-
cially and would continue to do so regardless of the outcome
of the litigation.
   Molly’s longtime close friend Teri Troilo testified that she
last saw Molly the second week of September 2017. Molly
told Troilo that Nebraska did not have common-law marriage
and that therefore, in the absence of a will, Molly’s money
would go to her children as she had arranged it. Molly also
told Troilo that at that time, she still had no intention of ever
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                       MALOUSEK v. MEYER
                        Cite as 309 Neb. 803
getting married again and, in the absence of any marriage, her
children would be taken care of financially when she died.
   After her visit in September 2017, Troilo called Molly’s
telephone several times, at least once a week. Greg always
answered Molly’s telephone and usually told Troilo that Molly
was sleeping. Troilo was only able to speak to Molly one
time, and Molly was only able to respond “uh-huh” and
“huh-uh.” The subject of marriage did not come up. According
to Troilo, Greg did not communicate to her that Molly was
close to death.
   A.J. visited Molly in mid-September 2017. Then in late
September and early October 2017, when A.J. tried to call
Molly, it was difficult to reach her. She often did not call
back, and when she did, the calls were short and Molly was
difficult to understand. At that time, Greg began to answer the
telephone regularly rather than Molly. Greg would tell A.J. that
Molly was tired or sleeping, update him on any appointments,
and tell him that Molly was “holding her own.” A.J. would
ask to speak to Molly directly, and most of the time, Greg
would say she was too tired or had just taken medication and
was sleeping.
   Todd Jensen testified that he was Greg’s best friend and was
at the Nebraska residence three or four times a week. Jensen
testified that he observed Molly’s condition gradually deterio-
rate during the last month of her life and that she lost her abil-
ity to focus or make normal decisions. He saw Molly and Greg
on October 10, 2017. At that time, Molly did not know who
Jensen was. When Jensen was there, neither Molly nor Greg
mentioned plans to get married.
   On October 12, 2017, Molly signed documents to convert
her two bank accounts from her sole ownership to joint owner-
ship with Greg. Bank manager Marcell Kalonga assisted with
the transaction. He observed Greg and Molly enter the bank
and testified that Molly appeared tired and sick and “couldn’t
even walk” and that Greg was “holding her [up].” In Kalonga’s
opinion, Molly needed to be in bed at home or hospitalized
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         Nebraska Supreme Court Advance Sheets
                  309 Nebraska Reports
                     MALOUSEK v. MEYER
                      Cite as 309 Neb. 803
because she did not seem to have the strength to do things
on her own. Greg told Kalonga that he wanted to be added to
Molly’s account because they were engaged to be married in
about a week, that Molly was dying, and that he had promised
to marry Molly before she died. Kalonga testified that Molly
had difficulty speaking to answer his questions. According to
Kalonga, contrary to normal procedure, “[a]ll the conversation
was 100 percent done by” Greg. Kalonga was uncomfortable
with the situation, and at some point, he asked Greg to step
out so that Kalonga could speak to Molly, but Greg “couldn’t.”
Kalonga testified that despite his misgivings, he proceeded
with the transaction because Greg and Molly were cohabitating
and soon to be married. Greg held Molly’s hand to help her
sign documents. After Greg and Molly left, Kalonga told some
coworkers about the incident because he did not feel it was
“right.” In his opinion, Greg was controlling what Molly was
doing that day and she was acting against her wishes.
   Courtney recalled speaking to Molly on the same day, which
was Courtney’s birthday. Courtney testified that previously,
Molly typically contacted her on her birthday, but in 2017,
she did not. Courtney became concerned and called Molly in
the late afternoon. Greg answered and told Courtney that they
had been running errands and that Molly was tired. Courtney
next spoke to Molly but could not understand anything she
said because her speech was garbled. That was the last time
Courtney was able to talk with Molly.
   After October 12, 2017, Greg answered the telephone most
of the time when Courtney called, or there was no answer.
When Courtney asked to speak to Molly, Greg would tell
Courtney that Molly was sleeping and offer to have Molly
call Courtney back, but she never did, which was not typical
for Molly.
   On October 14, 2017, Greg and Molly were married in
a ceremony at Molly’s Nebraska residence. Labart testified
that she made the wedding arrangements and kept it a secret
from Molly’s children because Molly made her promise not
to tell them. Labart testified that the wedding was attended by
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her, Mark and his wife, and Labart’s husband. Labart arranged
for her boss to officiate and told him to keep the wedding
a secret.
   On October 15, 2017, Molly signed documents to change
beneficiaries on her accounts with Minnesota Life. For a
life insurance policy with a death benefit of $250,000, she
changed the beneficiary designations from A.J. and Courtney
in equal shares to A.J., Courtney, and Mark in equal shares.
For a retirement account valued at approximately $550,000,
Molly changed the beneficiary from Courtney alone to Greg,
A.J., and Courtney, with Greg alone receiving half and A.J.
and Courtney each receiving one fourth. As to a mutual fund
account valued at about $180,000, Molly changed the benefi-
ciary from Courtney to Greg.
   On October 16, 2017, Molly signed documents to change
the beneficiary designation on her National Life annuity policy
from Courtney to Greg only. The change of beneficiary forms
were not signed by a witness. The policy had a cash value of
about $65,000.
   On October 20, 2017, Molly signed quitclaim deeds for the
Nebraska residence, valued at approximately $182,000, and
the Florida residence, valued at approximately $408,580 with
a mortgage of approximately $200,000. The deeds changed
the properties from Molly’s sole ownership to joint ownership
with Greg, with right of survivorship. On the same day, Molly
signed durable powers of attorney documents giving Greg the
powers of attorney that she had previously given to A.J. Greg,
Mark, and Labart’s husband were present.
   A.J. testified that his difficulty in getting Molly on the tele-
phone increased dramatically toward the end of October 2017.
That month, he called daily or every other day and talked to
Molly once or twice only. If no one answered Molly’s tele-
phone, A.J. would call Greg’s; Greg answered most of the
calls, and if he did not, he called A.J. back. In October 2017,
Greg never indicated to A.J. that Molly was very ill and that
A.J. should come see her.
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   Troilo testified that a few days before Molly died, Greg
called her to tell her Molly was going into hospice and stop-
ping treatment. Greg told Troilo that she needed to make a plan
to visit Molly. He did not tell Troilo at that time that Molly had
taken a sudden turn for the worse, nor did he tell her that he
and Molly were thinking of marrying or had married.
   Molly’s longtime friend Kristi Rieke testified that she saw
Molly on October 21, 2017, after Greg informed her that
Molly was not doing well and that Rieke should see her as
soon as she could. Rieke was unsure whether Molly recog-
nized her. After Molly fell asleep, Greg said in conversation
that Molly did not have a will. Greg said he planned to call
for hospice care in a few days, and Rieke advised him to do it
right away, as she did not believe Molly would live that long.
Rieke believed Molly’s children should have been there and
asked Greg why they were not. Greg responded that they were
busy. Upon Rieke’s request, Greg agreed to give Rieke their
telephone numbers but asked Rieke not to call them because he
wanted to follow Molly’s wishes. Rieke told Greg that Molly
would want her children there. Rieke called Molly’s children
the following day; Courtney was already with Molly, and A.J.
was on his way. A.J. and Courtney had been informed about
Molly’s condition after Rieke’s visit.
   A.J. testified that around the same time, he had asked Greg
if he should come to see Molly, and Greg had said that he did
not have to come or that Greg did not think he should. On
October 21, 2017, Mark told A.J. in a text message that if A.J.
wanted to come, he should. A.J. immediately tried to get a
flight to Nebraska.
   Courtney testified that she would always ask Greg about
Molly’s condition. Greg would answer that Molly was all right
and putting up a good fight and that Greg was taking care of
her. Greg did not inform Courtney until October 21, 2017,
that Molly’s condition was seriously deteriorating. Greg told
Courtney that Molly was in hospice and that Courtney might
want to visit her. Early the next morning, Courtney traveled
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to Nebraska. Molly appeared frail and did not speak or move.
She could only open her eyes, and Courtney was not sure that
Molly could recognize her. The next day, October 23, Molly
died before A.J. arrived.
   The evening that Molly died, Greg told Courtney that they
had married. Courtney testified that it seemed out of character
for Molly not to share the information with her because they
were very close and also that it surprised her that Greg did not
tell her before the wedding.
   The day after Molly died, A.J. learned that Greg and Molly
had married. A.J. considered this to be out of character for
Molly, who had always been open about her plans and her
plans had never included marriage, especially to Greg. A.J.
spoke to Molly’s friends and family and learned that none of
them were aware of the marriage ceremony in advance. Only
Greg’s friends and family knew about it.
   Troilo testified that she learned of the marriage from Greg
the night Molly died. In Troilo’s opinion, if Molly had been
in a lucid state, she would not have married without telling
Troilo, especially considering their conversation about mar-
riage in September 2017. Other friends of Molly’s also testified
that they were surprised to learn she had married Greg.
   There was no formal assessment of Molly’s mental func-
tioning during October 2017 and no documented efforts to
determine whether she could understand the importance of
the specific decisions she made at that time; the focus was on
the cancer and Molly’s pain. A medical expert, a psychiatrist
retained by Molly’s children and the special administrator,
reviewed Molly’s medical records and the depositions of peo-
ple who knew Molly and interacted with her in October 2017.
He opined that although Molly experienced lucid intervals
from October 12 to 20, during that timeframe she also periodi-
cally experienced delirium, which is a serious disturbance in
mental abilities that results in confused thinking and disrupts
memory, orientation, planning, organizing, motivation, com-
munication, and awareness of the environment.
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   The medical expert retained by Molly’s children and the spe-
cial administrator identified several possible causes of delirium
that Molly experienced in October 2017, noting that multiple
causes were likely present at the same time, with interactive
and additive effects. These included her metabolic condition,
dehydration and malnutrition, the physical stress of progressive
cancer, fatigue, side effects from treatment, possible undiag-
nosed infection, disrupted sleep patterns, anxiety and depres-
sion, emotional stress, and reduced oxygen. In addition, in
October 2017, Molly was taking several medications identified
as causes of delirium, including the narcotic pain medications
fentanyl and oxycodone and an antianxiety medication called
lorazepam. The fentanyl was administered continuously for 3
days at a time via a transdermal patch. In this medical expert’s
opinion, due to these factors, there were times in October 2017
when Molly lacked the mental capacity for decisionmaking and
she was vulnerable to undue influence.
   After the close of the case in chief for Molly’s children
and the special administrator, Greg and Mark proceeded with
their evidence. According to Greg and Mark’s evidence, on
October 6, 2017, Molly and Greg obtained forms to change
beneficiary designations on Molly’s life insurance, retirement
account, and mutual fund account. Both Molly’s financial
advisor and an attorney were present. They testified that Molly
led the conversation and expressed that she wanted to leave
$500,000 to her children through beneficiary designations and
leave the Nebraska and Florida residences to Greg. Neither
was concerned that Molly did not understand the signifi-
cance of her actions or was influenced by Greg. The attorney
informed Molly that if Greg’s name was put on the deeds to
the residences, Greg would have to pay inheritance taxes when
Molly died, unless they were married. According to testimony
presented by Greg and Mark’s witness, Molly replied, “[T]hen
we’ll get married.”
   Greg and Mark presented the testimony of the officiant for
Greg and Molly’s October 14, 2017, wedding. He testified
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that he spoke to Molly alone before the wedding and that
she told him she wanted to get married that day and stand by
Greg’s side during the ceremony. It did not appear to him that
Molly was being influenced, and he described the atmosphere
as that of a familial, happy occasion.
   Greg and Mark also presented testimony by the witness and
the notary for Molly’s signing of the quitclaim deeds and pow-
ers of attorney documents on October 20, 2017. They testified
that Molly seemed coherent and not coerced. The notary spe-
cifically asked Molly if signing the documents was what she
wanted to do, and she answered yes.
   Greg and Mark also submitted evidence from Molly’s phy-
sician that Molly was oriented and did not appear confused
at her appointments between December 2016 and October
19, 2017, with the exception of October 18, when she was
sleepy and difficult to arouse and could only give one-word
responses. Molly’s physician viewed Greg as a caregiver and
did not perceive Greg as influencing Molly or making deci-
sions for her.
   Greg and Mark also called a medical expert. Like the medi-
cal expert for Molly’s children and the special administrator, he
had not observed Molly, but offered opinion testimony based
on his review of evidence in the case. He testified that although
Molly may have experienced brief temporary alterations in her
level of consciousness and her abilities, her records and the
depositions of those involved with her did not show that she
lacked mental capacity or that she did anything without her
free will at any specific date or time before October 21, 2017.
Molly’s medical records reflected a rapid deterioration of her
condition starting on October 21, when she appeared confused,
lethargic, and dazed.

                          (b) Analysis
   The parties disagree as to the governing standard of review,
the burden of proof actually applied by the district court, and
whether the district court erred by declaring the marriage
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                       MALOUSEK v. MEYER
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and the disputed financial transactions invalid on the grounds
that Molly lacked the requisite mental capacity and was the
victim of undue influence. We discuss each of these issues in
the sections below, beginning with the standard of review.

                      (i) Standard of Review
   [3,4] An action for declaratory judgment is sui generis;
whether such action is to be treated as one at law or one in
equity is to be determined by the nature of the dispute. Weyh v.
Gottsch, 303 Neb. 280, 929 N.W.2d 40 (2019). In a bench trial
of a law action, the trial court’s factual findings have the effect
of a jury verdict and will not be set aside on appeal unless
they are clearly wrong. Cotton v. Ostroski, 250 Neb. 911, 554
N.W.2d 130 (1996). An action in equity is reviewed by an
appellate court de novo on the record. See Mock v. Neumeister,
296 Neb. 376, 892 N.W.2d 569 (2017). Offering little explana-
tion, the parties to this appeal disagree about the nature of the
dispute and, consequently, the standard of review. And, perhaps
unexpectedly, Greg and Mark argue for a more deferential stan-
dard of review while Molly’s children and the special adminis-
trator accept a less deferential one.
   [5] Greg and Mark assert that this is an action at law and that
therefore, we should review the evidence for clear error. Upon
a review for clear error, an appellate court does not reweigh
the evidence, but considers the judgment in a light most favor-
able to the successful party and resolves evidentiary conflicts
in favor of the successful party, who is entitled to every rea-
sonable inference deducible from the evidence. See Cotton v.
Ostroski, supra. In a bench trial of an action at law, the trial
court is the sole judge of the credibility of the witnesses and
the weight to be given their testimony. Eicher v. Mid America
Fin. Invest. Corp., 275 Neb. 462, 748 N.W.2d 1 (2008).
   [6] On the other hand, Molly’s children and the special
administrator characterize this as an equitable action to be
reviewed de novo. Under a de novo review, when credible
evidence is in conflict on material issues of fact, an appellate
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court will consider and may give weight to the fact that the
trial court observed the witnesses and accepted one version of
the facts over another. See Mock v. Neumeister, supra.   It appears that both parties may be partially correct as to
the appropriate standard of review, depending on the claim
at issue. We have held, for example, that an action to annul a
marriage, being an action in equity, is reviewed de novo. See
Edmunds v. Edwards, 205 Neb. 255, 287 N.W.2d 420 (1980).
We have also said that an action alleging undue influence in
executing a deed conveying real property from sole ownership
to joint tenancy with right of survivorship is one in equity. See
Anderson v. Claussen, 200 Neb. 74, 262 N.W.2d 438 (1978).
And we identified an action to enjoin a defendant from making
claims on a life insurance policy on the grounds of undue influ-
ence as an equitable action and reviewed it de novo. See Goff
v. Weeks, 246 Neb. 163, 517 N.W.2d 387 (1994). In Cotton v.
Ostroski, supra, however, we reasoned that a change to a joint
account was akin to a testamentary devise; therefore, the mat-
ter sounded in law, and we reviewed it for clear error. Other
instruments involved in this case also arguably function like
testamentary devises.
   We conclude that it is not necessary for us to determine
issue-by-issue whether the claims asserted are equitable and
subject to a de novo standard of review or legal and properly
reviewed for clear error. Even assuming all claims are properly
reviewed de novo, which is more favorable to Greg and Mark,
we conclude that the district court did not err in declaring the
marriage and the disputed financial transactions invalid.
                        (ii) Burden of Proof
   Before addressing Greg and Mark’s arguments that the dis-
trict court erred by finding that Molly lacked the requisite men-
tal capacity and was the victim of undue influence, we consider
Greg and Mark’s assignment of error concerning the burden
of proof. They assert that the district court erred in applying
a greater weight of the evidence burden of proof to this issue
rather than a clear and convincing evidence standard.
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                       MALOUSEK v. MEYER
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   In closing arguments, the parties agreed that Molly’s chil-
dren and the special administrator were required to prove their
claims of lack of capacity and undue influence by clear and
convincing evidence. The district court found in their favor
on these issues. It expressly stated that it found the “witnesses
[of Molly’s children and the special administrator] credible
and more credible than those called by [Greg and Mark]” and
therefore “place[d] more weight on their testimony.” Without
expressly mentioning the burden of proof it had applied, the
district court determined that Molly’s children and the special
administrator had met their burden as to lack of mental capac-
ity and undue influence.
   According to Greg and Mark, the district court’s statement
that it found the witnesses for Molly’s children and the special
administrator more credible than theirs and placed more weight
on their testimony demonstrates that the district court devi-
ated from a clear and convincing burden of proof and instead
improperly applied a greater weight of the evidence standard.
Clear and convincing evidence is evidence which produces in
the trier of fact a firm belief or conviction about the existence
of the fact to be proved, while a greater weight of the evidence
standard means evidence sufficient to make a claim more likely
true than not true. See Burgardt v. Burgardt, 304 Neb. 356, 934
N.W.2d 488 (2019); Mock v. Neumeister, 296 Neb. 376, 892
N.W.2d 569 (2017). Molly’s children and the special adminis-
trator, as they did in the district court, accept that a clear and
convincing burden of proof governs and contend that is the
burden the district court applied.
   As with our standard of review, we have tied the burden of
proof in incapacity and undue influence cases to the nature of
the cause of action. Generally, the burden of proof in an action
at law is a greater weight of the evidence, and for an equitable
action, the burden of proof is clear and convincing evidence.
See In re Estate of Price, 223 Neb. 12, 388 N.W.2d 72 (1986).
See, also, Miller v. Westwood, 238 Neb. 896, 472 N.W.2d
903 (1991). And as we observed in discussing the standard of
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review, the nature of the cause of action for each of the various
transactions involved in this case is not entirely clear. Again,
the parties do not address this uncertainty, but again, it is not
necessary for us to resolve it.
   We see no indication that the district court held Molly’s
children and the special administrator to anything other than
a burden to prove their claims by clear and convincing evi-
dence, as the parties requested. The language upon which
Greg and Mark rely does not speak to the burden of proof,
but, rather, to witness credibility. The trier of fact’s assess-
ment of witness credibility goes to the weight to be given the
testimony and is but a step in determining the ultimate ques-
tion of whether a party has met the requisite burden of proof,
whatever that may be. See Schluter v. State, 151 Neb. 284, 37
N.W.2d 396 (1949).
   [7] In any event, the burden of proof applied by the district
court is immaterial in this case. In a review de novo on the
record, an appellate court reappraises the evidence as pre-
sented by the record and reaches its own independent conclu-
sions concerning the matters at issue. In re Claims Against
Pierce Elevator, 291 Neb. 798, 868 N.W.2d 781 (2015). As
the following analysis demonstrates, upon a de novo review,
we find that clear and convincing evidence supported the dis-
trict court’s determinations concerning mental incapacity and
undue influence.
                     (iii) Undue Influence
   Greg and Mark assign that the district court erred in find-
ing that Molly was subject to undue influence when she exe-
cuted the transactions in October 2017 that favored Greg and
included Mark. In light of the evidence and the district court’s
credibility determinations, we disagree.
   [8-10] The elements necessary to warrant the rejection of
a written instrument on the ground of undue influence are
(1) that the person who executed the instrument was subject
to undue influence, (2) that there was opportunity to exercise
undue influence, (3) that there was a disposition to exercise
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undue influence for an improper purpose, and (4) that the result
was clearly the effect of such undue influence. See Miller v.
Westwood, supra. Because undue influence is often difficult to
prove with direct evidence, it may be reasonably inferred from
the facts and circumstances surrounding the actor: his or her
life, character, and mental condition. Goff v. Weeks, 246 Neb.
163, 517 N.W.2d 387 (1994). Mere suspicion, surmise, or con-
jecture does not warrant a finding of undue influence; instead,
there must be a solid foundation of established facts on which
to rest the inference of its existence. Mock v. Neumeister, 296
Neb. 376, 892 N.W.2d 569 (2017).
   Applying these principles here, we conclude upon our de
novo review that there was clear and convincing evidence that
Molly was subject to undue influence when she executed the
October 2017 financial transactions. The evidence of Molly’s
children and the special administrator showed that Greg did not
have a means of supporting himself. He had relied on Molly
for his living expenses since 2009 and, to Molly’s irritation,
had a history of trying to treat Molly’s assets as his own. She
had also refused Greg’s suggestion that she include Mark in
her estate plan. Molly had consistently expressed, as late as
September 2017, that she wanted the vast majority of her assets
divided between her own children when she died and that she
had arranged her finances and remained single with that goal
in mind.
   In October 2017, Molly’s health deteriorated significantly.
During this time, Molly experienced periodic delirium.
Although no expert could pinpoint when the delirium occurred
relative to the disputed transactions, Molly was subject to
multiple possible causes of delirium during the relevant time,
including fentanyl doses that lasted for 3 days. Jensen saw
Molly frequently and noticed that she could not focus or make
decisions during the last month of her life and that she did not
recognize him when he visited her on October 10. On October
12, the bank manager who assisted with one of the disputed
transactions opined that Molly did not have the strength to
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do things on her own and did not appear to be acting of her
own volition: Greg had to help Molly walk, did all of the talk-
ing, and held Molly’s hand to help her sign the papers. The
same day, Courtney spoke to Molly and could not understand
her because her speech was garbled. A.J. too had difficulty
understanding Molly in October 2017. Troilo similarly testified
that she spoke to Molly once after September 2017 and that
Molly was only able to respond “uh-huh” and “huh-uh.”
    The evidence indicates that as Molly’s health deteriorated,
Greg, either alone or in cooperation with his family, orches-
trated a series of transactions to transfer the bulk of Molly’s
wealth to him upon her imminent death. The transactions
­coincided with Molly’s inability to resist outside influence.
 They were executed in the presence of Greg and his family,
 who stood to benefit the most from the transactions. Greg
 and Mark would receive substantial assets, and Labart would
 no longer have to support Greg financially. By contrast, the
 transactions significantly diminished the interests of Molly’s
 children, and until her death, the transactions were kept secret
 from her close friends and family, contact with whom Greg
 appeared to curtail during Molly’s final days. The effect of the
 transactions was contrary to the wishes that Molly had unwav-
 eringly expressed up until that point and that had previously
 governed her behavior.
    Greg and Mark do not dispute there was evidence at trial
 to support this conclusion. Instead, they argue on appeal that
 evidence they presented as to Molly’s wishes was more cred-
 ible and entitled to more weight. We recognize that witnesses
 called and relied upon by Greg and Mark offered a much dif-
 ferent narrative regarding Greg and Molly’s actions in October
 2017. Based on a meeting on October 6, they characterized
 Molly as an independent leader in a plan for her assets that the
 disputed transactions furthered. These witnesses called by Greg
 and Mark testified that Molly seemed coherent at the time the
 transactions were executed. Greg and Mark insist that these
 witnesses gave the most credible evidence on the subject and
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that, in light of it, the district court was required to find a lack
of undue influence. We disagree.
   [11] Witness credibility and the weight to be given a wit-
ness’ testimony are questions for the trier of fact. See Huffman
v. Peterson, 272 Neb. 62, 718 N.W.2d 522 (2006). The evi-
dence presented by the parties portrayed two very different
accounts as to Molly’s condition and actions in October 2017.
The district court had the opportunity to observe the witnesses
who testified firsthand and expressly determined that the wit-
nesses for Molly’s children and the special administrator were
more credible than those called by Greg and Mark. We believe
it appropriate to give weight to the district court’s credibility
finding, as we may even under a de novo review. See Mock v.
Neumeister, 296 Neb. 376, 892 N.W.2d 569 (2017). Given the
weight we give this credibility assessment and the evidence
in the record summarized above, we conclude that the district
court did not err in finding the October 2017 financial transac-
tions invalid due to undue influence.
   The district court and the parties all appear to assume that
just as the financial transactions could be declared invalid if
Molly’s children and the special administrator demonstrated
undue influence, so too could the marriage. That is not so clear
to us. We do not appear to have ever held that a personal rep-
resentative or special administrator of an estate has standing to
seek the annulment of a decedent’s marriage based on undue
influence alone. Further, a majority of jurisdictions have held
that an action to annul a marriage on the ground of fraud can
only be brought by the defrauded spouse while both parties to
the marriage are living. See Morris v. Goodwin, 230 Md. App.
395, 148 A.3d 63 (2016). This rule is based on the distinction
between void and voidable marriages. Id. This court has rec-
ognized that distinction and has said that a marriage is merely
voidable “when it has legal imperfections in its constitution
which can be inquired into only during the lives of both of
the parties.” Christensen v. Christensen, 144 Neb. 763, 766,
14 N.W.2d 613, 615 (1944). We have described the doctrine
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of undue influence as “not dissimilar to fraud.” In re Estate
of Price, 223 Neb. 12, 18, 388 N.W.2d 72, 77 (1986). And we
are not aware of a statute providing that marriages procured by
fraud or undue influence are void. Cf. Neb. Rev. Stat. § 42-103(Reissue 2016).
   Although we have questions about whether Molly’s chil-
dren or the special administrator have standing to seek the
invalidation of the marriage based on undue influence alone,
we need not resolve those questions here. There is no doubt
that the marriage could be declared void if Molly was found
to lack the requisite mental capacity. See § 42-103(2). See,
also, Edmunds v. Edwards, 205 Neb. 255, 287 N.W.2d 420(1980). And, as we will explain in the following section, we
find the district court correctly concluded that Molly lacked
the requisite capacity to marry Greg and complete the disputed
financial transactions.

                     (iv) Mental Capacity
   [12-15] The district court also declared the marriage and
disputed financial transactions invalid on the grounds that
Molly lacked the requisite mental capacity. In order to set
aside an instrument for want of mental capacity on the part of
the person executing it, the burden of proof is upon the party
asserting incapacity to establish that the mind of the person
was so weak or unbalanced when the instrument was executed
that the person could not understand and comprehend the
purport and effect of what he or she was doing. See Dunbier
v. Rafert, 170 Neb. 570, 103 N.W.2d 814 (1960). Similarly, a
marriage contract will not be declared void for mental inca-
pacity to enter into it unless there existed at the time of the
marriage such a want of understanding as to render a party
incapable of assenting thereto. See § 42-103(2). See, also,
Edmunds v. Edwards, supra. Mere weakness of mind is not
sufficient unless there be such a mental defect as to prevent
the party from comprehending the nature of the marriage con-
tract and from giving free and intelligent consent to it. See
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id. A marriage is valid if the party has sufficient capacity to
understand the nature of the contract and the obligations and
responsibilities it creates. Id.   Here, Molly’s children and the special administrator pre-
sented clear and convincing evidence to show that Molly
lacked the requisite mental capacity to marry Greg and exe-
cute the transactions in October 2017. There was ample evi-
dence that until at least September 2017, Molly had consist­
ently maintained that she would not marry again and that she
intended to leave all of her assets to her children when she
died, with the exception of remarking that she should probably
leave Greg a relatively small amount. The marriage and the
disputed transactions, which occurred between October 12 and
20, 2017, contravened these longstanding wishes and occurred
at a time when, according to an expert for Molly’s children and
the special administrator, Molly experienced periodic delirium
related to her illness and treatment. More than one of these
causes, which included the 3-day doses of fentanyl, were likely
affecting Molly simultaneously. Molly’s delirium was evident
to lay people. Jensen, who frequently visited Molly, observed
that Molly lost the ability to focus and make decisions during
the last month of her life, when the marriage and transactions
occurred. Jensen testified that when he saw Molly on October
10, she did not know him. Two days later, the bank manager
who assisted with adding Greg to Molly’s bank accounts
thought it did not seem “right” when he observed that Greg
helped Molly walk, did all of the talking, and held Molly’s
hand so that she could sign the papers. No one disputes that by
October 21, Molly was mentally incapacitated.
   Greg and Mark make the same type of arguments with
respect to mental capacity that they make regarding undue
influence. Primarily, they argue that because their medical
expert offered an opinion based on his review of Molly’s
medical records and deposition testimony that Molly did not
lack mental capacity prior to October 20, 2017, and the expert
called by Molly’s children and the special administrator opined
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only that Molly experienced periodic delirium prior to that
date, their expert’s testimony must be given more weight. We
disagree. As we have noted, the district court expressly found
that the witnesses called by Molly’s children and the special
administrator were more credible than those called by Greg
and Mark. The opinion of Greg and Mark’s medical expert was
based, at least in part, on the deposition testimony of witnesses
Greg and Mark called to testify at trial. We again believe it
appropriate to give weight to the district court’s credibility
finding. See Mock v. Neumeister, 296 Neb. 376, 892 N.W.2d
569 (2017).
   Given the district court’s credibility assessment, the evi-
dence of Molly’s mental incapacity at the time of the marriage
and disputed transactions, and the evidence that the marriage
and disputed transactions ran contrary to the plans Molly
consistently expressed to her friends and family through the
years, we find that there was clear and convincing evidence
that Molly lacked the capacity to marry Greg or complete the
disputed financial transactions.

                  3. Acceptance of Benefits
   After Greg and Mark filed their appeal, Molly’s children
and the special administrator filed a motion for summary dis-
missal. According to affidavits, Mark had taken possession of
the boat at issue after the judgment, even though counsel for
Molly’s children and the special administrator had informed
counsel for Greg and Mark that ownership of the boat would
be an issue in any appeal. They argued that this constituted
Greg and Mark’s acceptance of the benefits of the judgment
and merited dismissal of their appeal. We overruled the motion
for summary dismissal but reserved the issue of acceptance of
benefits until plenary submission on appeal. Having rejected
the arguments raised by Greg and Mark’s appeal, we need not
address the contention that they waived their right to appeal
by post­judgment actions related to the boat. See Brumbaugh v.
Bendorf, 306 Neb. 250, 945 N.W.2d 116 (2020).
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                 4. Resulting Trust for Boat
   One matter concerning the boat remains. On cross-appeal,
the special administrator assigns that the district court erred in
declining to find that Mark held title to the boat as a trustee
of a resulting trust and in imposing a burden on the special
administrator to prove that the boat was not a gift from Molly
to Mark. As we will explain, we conclude that the evidence
shows the existence of a resulting trust and that any presump-
tion of a gift was rebutted.
                    (a) Additional Background
   At trial, the parties presented evidence about the boat. Mark
testified that Greg, Mark, and A.J. participated in finding a
boat to purchase in Florida. It is undisputed that in 2014, Molly
paid the entire purchase price of $119,000, though Greg signed
the purchase agreement. Mark testified that shortly thereafter,
Molly presented him with a title application and informed him
that she was going to put his name on the title for the boat.
According to Mark, Molly told him at that time that she wanted
Mark’s name on the title because A.J. did not know how to
drive a boat. Mark’s name was put on the title, and the boat
remained in Florida, while Mark resided in Nebraska.
   Mark confirmed that other than offering to pay for fuel while
using the boat, he had not paid for insurance, maintenance, or
any other major expenses. Insurance records for the boat listed
Greg as the owner. Mark testified that he considered the boat to
be his, but he let Molly and Greg use it whenever they wanted.
Mark stated that he viewed the boat as a gift from Molly to
him, but he did not report receiving a gift of that value on his
tax returns or take deductions for depreciation of the boat. To
Mark’s knowledge, Molly did not give either of her children a
similar gift during the same timeframe.
   A.J. testified that the boat was titled in Mark’s name for
Molly’s tax purposes because Mark did not own a second home
like Molly did. According to A.J., Molly never indicated that
the boat belonged to Mark; it was always A.J.’s understanding
that the boat belonged to Molly.
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   According to Greg’s deposition testimony, Molly put the
boat in Mark’s name so that Mark could claim it as a vacation
home and deduct it on his taxes and because Mark, like Greg,
held a specialized license to operate the boat, while Molly and
her children did not. Greg explained that one of Molly’s bank
accounts was used principally for boat expenses.
   As mentioned earlier, around the time Molly purchased the
boat, she rejected Greg’s suggestion that she include Mark
in her estate plan, stating that Mark had a mother of his own
for that. A friend of Molly’s testified that the suggestion had
caused tension between Greg and Molly and made Molly
unhappy. Molly had also resisted paying for Mark and his wife
to travel to Florida.
   The district court determined that Molly’s children and the
special administrator had failed to establish the elements of
a resulting trust and had not made the required showing that
the boat was not a gift. Instead, the district court found that
Molly initially put the boat in Mark’s name for her own tax and
financial advantage and did little to nothing to exert owner­ship
thereafter. The district court noted that there were many pos-
sible reasons that Molly titled the boat in Mark’s name, but
refused to “engage in speculation regarding Molly’s intent and
plans for the boat.”
                      (b) Standard of Review
   [16] Actions to declare a resulting trust are in equity. See
Washington v. Conley, 273 Neb. 908, 734 N.W.2d 306 (2007).
In an appeal in an equity action, it is the duty of this court to
try issues of fact de novo upon the record and to reach an inde-
pendent conclusion thereon without reference to the findings
of the district court. Biggerstaff v. Ostrand, 199 Neb. 808, 261
N.W.2d 750 (1978).
                           (c) Analysis
    On cross-appeal, the special administrator admits that Molly
titled the boat in Mark’s name. However, he argues that the
boat was not an unconditional gift from Molly to Mark and
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that instead, Mark was holding the boat in a resulting trust for
the benefit of Molly’s estate. Mark counters that the evidence
shows the opposite scenario and supports the district court’s
ruling on the issue.
    [17-19] A resulting trust is one raised by implication of law
and presumed always to have been contemplated by the parties;
the intention of the resulting trust is to be found in the nature
of their transaction, but not expressed in deed or instrument
of conveyance. Wait v. Cornette, 259 Neb. 850, 612 N.W.2d
905 (2000); Brtek v. Cihal, 245 Neb. 756, 515 N.W.2d 628(1994). Where a transfer of property is made to one person
and the purchase price or consideration was paid by another
person, a resulting trust arises in favor of the person who made
the payment or provided consideration. See id. The court will
impose a resulting trust when the circumstances surrounding
a conveyance make it clear that the parties intended such a
result. Superior Hybrids Co. v. Carmichael, 214 Neb. 384, 333
N.W.2d 911 (1983). The burden is on the one claiming the
existence of a resulting trust to establish the facts upon which
it is based by clear and satisfactory evidence. Id.    Upon our review of the evidence, we conclude that the
special administrator met the burden of showing a resulting
trust for the boat. The parties agree that Molly paid the pur-
chase price for the boat and titled it in Mark’s name, and the
surrounding circumstances show that she intended a resulting
trust. The rationale for a resulting trust is that individuals sel-
dom give consideration to receive nothing. See id. And there
was evidence that Molly titled the boat in Mark’s name for
purposes that benefited her. Mark himself testified that when
Molly presented him with the title application, she said she
wanted his name on the title because unlike A.J., Mark knew
how to operate the boat. Further, A.J. suggested that Molly
titled the boat in Mark’s name for tax purposes. Greg’s deposi-
tion testimony generally corroborated these motives. Finally,
despite the boat’s being titled in his name, Mark did not
pay any of the major expenses associated with it, and Molly
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maintained a bank account that was mainly used for paying
boat expenses.
   We have held that where a transfer of property is made to
one person and another pays the purchase price in order to
accomplish an illegal purpose, a resulting trust does not arise
if the policy against unjust enrichment of the transferee is out-
weighed by the policy against giving relief to a person who has
entered into an illegal transaction. Lewis v. Poduska, 240 Neb.
312, 481 N.W.2d 898 (1992), quoting Restatement (Second)
of Trusts § 444 (1959). No one, however, contends that the
arrangement concerning the boat was founded on an illegal
purpose or presented evidence to that effect.
   We have also said that a resulting trust may not arise when
the parties are sufficiently close so as to give rise to a presump-
tion that a gift was intended. See Brtek v. Cihal, 245 Neb. 756,
515 N.W.2d 628 (1994). The special administrator assigns that
the district court erred in requiring proof that the boat was not a
gift. Mark describes his relationship with Molly as sufficiently
close to give rise to the presumption that Molly intended to gift
the boat to him. We question whether this was the case. Mark
was an adult when Greg and Molly began living together, and
Greg and Molly were unmarried when the boat was titled in
Mark’s name. Where the parties’ relationship is more remote
than parent and child, courts generally do not presume a gift.
See Ronald Chester et al., The Law of Trusts and Trustees
§ 460 (rev. 3d ed. 2005). This is because even where affection
exists, the payor has no legal duty to support the grantee, and
the inference that a gift was intended is not strong, especially
where the payor has closer relatives than the grantee. Id.
   Even assuming, without deciding, that Mark showed his
relationship with Molly was sufficiently close to give rise to a
presumption that Molly intended the boat as a gift to him, some
of the same evidence that supports the existence of a result-
ing trust, along with other evidence, rebuts any presumption
that the boat was a gift. See Brtek v. Cihal, supra. There was
evidence that Molly resented the expectation that she should
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pay for Mark’s travel to Florida, and around the time Molly
purchased the boat, she rejected Greg’s suggestion that she
include Mark in her estate plan, saying that Mark had his own
mother from whose estate plan he could benefit. Mark admitted
that to his knowledge, Molly made no gift that was similar to
a boat to A.J. or Courtney, who were more natural recipients
of such a substantial gift from Molly. Mark’s position that the
boat was a gift is further diminished by evidence that Mark’s
use of the boat was not exclusive and that Molly cited Mark’s
ability to operate the boat and tax purposes as reasons for
titling it in his name. Finally, Mark did not pay taxes and main-
tenance costs for the boat.
    Based on our conclusion that the special administrator met
his burden of showing that Molly intended a resulting trust as
to the boat and that the evidence rebutted any presumption of
a gift, we reverse, and remand, in part, with directions to enter
an order consistent with this opinion.

                        V. CONCLUSION
   For the foregoing reasons, we affirm the district court’s find-
ings and order regarding mental incapacity and undue influ-
ence, but in part reverse, and remand with directions to enter an
order concerning the boat that is consistent with this opinion.
                    Affirmed in part, and in part reversed
                    and remanded with directions.
